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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 NORFOLK DIVISION

                                               )
VICTOR GILMORE                                 )
                                               )
                                               )
       Plaintiff                               )
                                               )
vs.                                            )       Case No. 2:18CV634
                                               )
RESULTS UNLIMITED, INC., ET AL.                )
                                               )
                                               )
       Defendants                              )
                                               )

          DEFENDANT RESULTS UNLIMITED, INC.’S MOTION TO DISMISS

       Defendant Results Unlimited, Inc., by and through counsel, and pursuant to Rules

12(b)(1) and 12(b)(6), Federal Rules of Civil Procedure, moves to dismiss Plaintiff’s Complaint

for want of subject matter jurisdiction and/or in the alternative for failing to state a claim upon

which relief may be granted. In support of this Motion, Defendant respectfully refers this

Honorable Court to the accompanying brief.

NOTICE TO PRO SE PLAINTIFF:

       In accordance with Roseboro v. Garrison, 528 F.2d 309 (4th Cir. 1975), take notice and

be warned that a motion dispositive of this action has been filed. As such:

       (1) The pro se party is entitled to file a response opposing the motion and that any such

response must be filed within twenty-one (21) days of the date on which the dispositive or

partially dispositive motion is filed; and

       (2) The Court could dismiss the action on the basis of the moving party’s papers if the

pro se party does not file a response; and




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       (3) The pro se party must identify all facts stated by the moving party with which the pro

se party disagrees and must set forth the pro se party’s version of the facts by offering affidavits

(written statements signed before a notary public and under oath) or by filing sworn statements

(bearing a certificate that it is signed under penalty of perjury); and

       (4) The pro se party is also entitled to file a legal brief in opposition to the one filed by

the moving party.

                                                   Respectfully submitted,

                                                   THE LAW OFFICES OF RONALD S. CANTER, LLC


                                                   /s/ Ronald S. Canter
                                                   Ronald S. Canter, Esquire, VSB #87187
                                                   200A Monroe Street, Suite 104
                                                   Rockville, Maryland 20850-4424
                                                   Telephone: (301) 424-7490
                                                   Facsimile: (301) 424-7470
                                                   E-Mail: rcanter@roncanterllc.com
                                                   Attorney for Defendant,
                                                   Results Unlimited, Inc.




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                                CERTIFICATE OF SERVICE

        The undersigned does hereby certify that a true and correct copy of the foregoing was
electronically transmitted pursuant to ECF procedures, this 1st day of March, 2019 to:

                                James Arthur Cales, III, Esquire
                             Furniss Davis Rashkind & Saunders PC
                              6160 Kempsville Circle, Suite 341B
                                       Norfolk, VA 23502
                                    jcales@furnissdavis.com
                                     Attorney for Defendant,
                                     Tariq K. Louka, Esquire

                                    P. Todd Sartwell, Esquire
                                 Dickerson & Smith Law Group
                                  115 South Lynnhaven Road
                                 Virginia Beach, Virginia 23452
                                   todd@daviddickerson.com
                                     Attorney for Defendant,
                                   Emerald Point Apartments

and mailed, first class postage pre-paid on the 4th day of March, 2019 to:

                                         Victor Gilmore
                                    507 High Street, Apt 706
                                   Portsmouth, Virginia 23704
                                         Pro Se Plaintiff


                                                 /s/ Ronald S. Canter
                                                 Ronald S. Canter, Esquire
                                                 Attorney for Defendant,
                                                 Results Unlimited, Inc.




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